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USDC SDNY
DOCUMENT
UNITED STATES DISTRICT COURT ELECTRONICALLY FILED
SOUTHERN DISTRICT OF NEW YORK DOC #:
UNITED STATES OF AMERICA * DATE FILED: _4- 6-023
UNITED STATES OF AMERICA, ‘—
-against- S6 22-cr-0673 (LAK)
SAMUEL BANKMAN-FRIED,
Defendant.
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ORDER

LEWIS A. KAPLAN, District Judge.

During the hearing on August 30, the Court required that the parties submit “a joint
report Tuesday morning concerning the exact situation at the MDC as of that time. What’s been
provided, what’s in place, what works; and if anything doesn’t work, I want to know about that too
wee Tr, 8/30/2023, at 34-35.

On Tuesday, I received a letter from the government, stated to be “on behalf of the
parties,” that purports to describe in some detail the current situation at the MDC. But I received
also a letter from the defendant speculating that the government’s “plan will not be carried out as
promised” and that “the procedures in the 500 Pearl Street cell block will [not] work as promised,”
as well as arguing that the measures taken by the government would be insufficient even if they
“were working perfectly.” Dkt 254. In the circumstances, it therefore is not entirely clear whether
the defendant agrees with the factual statements contained in the government’s letter “on behalf of
the parties.” Accordingly, the defendant shall advise the Court by letter no later than September 8
whether defendant claims that any factual statement contained in the government’s September 5,
2023 letter is inaccurate in any way, shall identify each such statement, and shall state the basis for
each such claim.

SO ORDERED.

Dated: September 6, 2023

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~ Lewif A. Raglan
United States District Judge

